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                             EXHIBIT O

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
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                                                                    ADvancing justice ANnual report 2022
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                                                                1990:
      1987:                                                     The Coalition created the Community Housing Partnership (now
      A ragtag group of unhoused leaders and allies, fed up     known as HomeRise), a unique housing and employment project
      with homelessness policy that failed to address the       which now provides over 1,000 units of permanently affordable
      root causes, formed the Coalition on Homelessness.        supportive housing for the City’s poorest residents and employs
                                                                homeless people in the construction, maintenance, and support
                                                                services at those housing locations. This was the City’s first
                                                                “supportive housing” for homeless people, a model now used to
                                                                house thousands of formerly homeless San Franciscans.




                                                        1989:
                                                        The Coalition founded the Street Sheet, now the oldest continuously
                                                        published street newspaper in North America.


ABOUT THE COALITION on                                                                      2022 Wins
Homelessness                                                                       • Codified Due Process
                                                                                     Rights for shelter residents
The Coalition on Homelessness grew out of the lack of government
responsiveness to the homeless crisis in the 1980s. A ragtag group                   in San Francisco
of homeless people and community activists, tired of emergency                     • Reached the goal of
responses to what was a systemic crisis stemming from economic and                   expanding shelter for
racial inequities, joined together to form an organization that focused
on the real causes of and long-term solutions to homelessness.                       1,000 people funded and
                                                                                     operated
We are firmly dedicated to the elimination of homelessness – as                    • Funding for 1,247 new
directed by homeless people themselves. We organize poor and
homeless people to create permanent solutions to poverty and                         Supportive Housing Units
homelessness while protecting the civil and human rights of those                  • Funding for 1,836
forced to remain on the streets.                                                     additional rental subsidies
Since our formation in 1987, we have won many sustainable and                      • Funding for 343 new
landmark changes in homeless policy affecting all areas of anti-poverty              treatment beds
work, from welfare rights to housing development to economic                       • Three new permanent
justice. Our homeless and poor members have been able to effect
the most notable changes in the history of San Francisco homeless                    drinking fountains
policy. Whole organizations and programs were birthed as a result of                 installed and six more
our struggle. With integrity, determination, love in our hearts, and                 funded over next two
sweat on our brows, we take on one of the most pressing issues facing
San Francisco. While we have a long road ahead of us, countless                      years
victories as well as painful losses trail behind us, more often than not,          • Lawsuit and small claims
we persevere. In this special anniversary issue of our annual report,                cases filed against the
travel with us through the last 35 years of advancing justice and the
important campaigns we’re still working on today!                                    City’s sweeps
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 1996:                                                       1998:
 The Coalition led the fight against Mayor Frank Jordan’s    After producing a groundbreaking report entitled “Locked
 anti-homeless Matrix program, implemented in 1993,          Out,” based on interviews with hundreds of homeless people
 which broadly persecuted homeless people who were           experiencing mental health challenges, it became clear that the
 forced to live on the streets through ticketing,            mental health system needed a lot of change. One finding was
 property confiscation and police sweeps. In 1996, we        that the lack of insurance created a barrier to care. We along
 forced the District Attorney to dismiss 39,000 Matrix       with community partners organized for and wrote legislation to
 citations against homeless people, and eventually put       create a single standard of care whereby uninsured mentaly ill
 an end to the program.                                      people are afforded equal mental health treatment as those who
                                                             are insured.




                                                1997:
                                                The Substance Use and Mental Health Working Group (SAMH), working out
                                                of the Coalition, spearheaded a campaign for substance use treatment on
                                                demand, which resulted in over $12 million in new treatment funds and
                                                the development of a grassroots community planning process for funding
                                                priorities and contract awards. The fight for treatment on demand continues
                                                to this day.




                 STREET SHEET
Street Sheet has been the San Francisco newspaper
with an ear to the street, reporting on homelessness
for over thirty years. We’ve been a platform for
unhoused people to share their reporting, artwork,
poetry, and stories since 1989, and our paper                                     shelter access
continues to hold City leaders accountable for the
ongoing crisis of homelessness. Our vendors earn                   In 1992, we fought for San Francisco to become
an income slinging the sheets on street corners                    the first city in the nation with due process rights
and bus stops around San Francisco, and we’ve                      for shelter residents. This year, after the right
worked hard to rebuild the vendor program as we                    was dropped during the pandemic, and with the
move through the ongoing pandemic. In 2022, we                     support of Board President Walton, we codified
published hard-hitting editions focused on the                     the Shelter Grievance Policy to ensure that every
struggles and resilience of unhoused immigrants                    person in every shelter in the city still enjoys those
and the shocking abuses of the City highlighted                    rights. We also pushed the City to commit to
by the Stolen Belonging project, and we also                       reinstating a shelter self-referral system, and have
celebrated the creativity of our creators with our                 secured funding for 1,000 new shelter beds since
Ghost Stories Halloween issue and our beloved                      the passage of Prop. C. These wins will help ensure
poetry edition. You can also check out our podcast                 that unhoused San Franicscans who want shelter
   Street Speak wherever you get your podcasts.                                         can access it.
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2000:
Led by Coleman Advocates, the “People’s Budget Collaborative’’ was
founded by a coalition of community organizations including the                     2007:
Coalition on Homelessness to identify alternative city budget savings               Together with allied organizations in
and revenues to redistribute to programs for marginalized and poor                  Berkeley, Oakland, Los Angeles, Portland,
San Franciscans. In the following years, the Coalition played a huge                and Seattle, we collectively founded the
role in the People’s Budget Collaborative’s annual budget advocacy,                 Western Regional Advocacy Project (WRAP)
and continue to be active members in its successor, the Budget Justice              via Coalition founder Paul Boden.
Coalition. Through these two groups, we have fought for and won
millions of dollars in additional homelessness funding every year since.




                                                               2005:
                                                               The Coalition identified hundreds of San Francisco Housing
                                                               Authority vacant units and demanded that homeless families be
                                                               placed in those units. In a great victory for homeless families,
                                                               the SFHA agreed to our demands and 300 homeless families filled
                                                               those units. This created the groundwork for SFHA to later
                                                               include a preference for homeless households on their waitlist,
                                                               ensuring those without housing don’t have to wait as long for a
                                                               unit.




           organizing vehicularly                                              fixing housing access
              unhoused people                                       For years, our unhoused members have derided
                                                                    the coordinated entry process: the system used by
  Over the last two years, we’ve made a strong effort               the City to determine how housing resources will
  to organize San Franciscans living in their vehicles.             be distributed to whom. Many who have attempted
  This year, we worked with vehicularly housed folks                to access housing through coordinated entry find
  to advocate against the City’s practice of towing their           the assessment invasive and offensive, the process
  homes by meeting with SFMTA board members                         confusing and unfair, and the housing resources
  and routinely applying pressure in public meetings.               offered inappropriate. This year, we gathered currently
  We also supported residents of the Bayview safe                   and formerly unhoused families, youth, and single
  parking site in their demands for better conditions,              adults together to give input on their experience
  resulting in several meetings between residents and               with coordinated entry through listening sessions
  the Department of Homelessness and Supportive                     and popular assemblies. We used this feedback to
  Housing (HSH). Additionally, we continued to hold                 write and release “A New Coordinated Entry,” our
  community meetings with unhoused neighbors in                     report detailing the findings and recommendations
  the Lake Merced area to demand a safe parking site                for the coordinated entry system that were most
  and other resources in their neighborhood. This                   important to unhoused San Franciscans. Through
  group successfully garnered commitments from                      a year-long campaign of meetings, public hearings,
  Supervisor Melgar and HSH to build a new parking                  and direct action, we have pushed the City to embark
  site, and to be included in designing the program                 on a process to reform coordinated entry and remain
                  and rules for the site.                                          involved in that process.
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                                                                                           2014:
                                                                                           With nowhere to go, many
2008:                                                                                      unhoused people seek shelter in
Following up on our earlier success establishing due process rights and shelter            transportation hubs, including
grievance procedures, the Coalition passed legislation forming the Shelter Monitoring      BART. In 2014, BART announced
Committee. This established standards of care in the shelter system around health,         a new policy to cite and arrest
hygiene, and human rights and a committee to track conditions in shelters. If shelters     anyone sitting or sleeping in their
do not follow the standards, they may be fined, and the committee reports to the Board     hallways, or stations, with an
of Supervisors and the Mayor, resulting in the exposure and correction of countless        explicit goal of ridding the stations
problems in the shelter system over the years.                                             of unhoused people. We fought
                                                                                           back, held a sleep-in at Powell
                                                                                           Street station and successfully
                                                                                           halted this BART practice of
                                                                                           arresting homeless people.




                                                                          2012:
     the fight against criminalization                                    Public housing, funded by the federal government,
                                                                          has the largest number of housing units and
 From Frank Jordan’s Matrix program to Gavin Newsom’s                     rental assistance vouchers for impoverished San
 Sit/Lie laws, unhoused San Franciscans have long had                     Franciscans. Unfortunately, it traditionally had
 their rights to survival under attack, and the Coalition has             the longest waitlist with thousands of households
 always been at the forefront of fighting back. In 2022, after            languishing for years. In 2012, we started to demand
 years of documenting and fighting against the City’s illegal             and win changes in the eligibility and occupancy
 sweeps, we filed a groundbreaking lawsuit with the Lawyers’              guidelines for a preference for unhoused San
 Committee for Civil Rights, ACLU NorCal, and Latham                      Franciscans so their wait time would shorten. This
 & Watkins against the City of San Francisco. At the same                 is still in place today.
 time, we continue the fight to implement a Compassionate
 Alternative Response Team (CART) to replace the City’s
 current system of displacement and property theft. We also
 completed our second year of our administrative claim
 program, helping individual homeless people sue the City
 and win cash settlements for their stolen possessions. With
 each campaign win, we get one step closer to ending San                                 water for all
          Francisco’s long history of criminalizing.
                                                                            In 2022, we continued our work to
                                                                            expand water access for houseless
                                                                            San Franciscans by working with the
                                                                            Public Utilities Commission (PUC) to
                                                                            implement three new water fountains
                                                                            throughout the Tenderloin. We also
                                                                            secured funding for three additional
                                                                            fountains in this year’s budget, and are
                                                                            working with the PUC to establish an
                                                                            internal working group to address gaps
                                                                                        in water access.
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2017:                                                    2020:
Working with allied organizations, we                    Alongside many allies, we fought during the first year of the COVID-19
successfully transformed the SFPD Use                    pandemic to force the City to open up 2,500 Shelter in Place (SIP) hotels
of Force Department General Order,                       for unhoused community members otherwise unable to keep themselves
significantly limiting SFPD’s ability                    and their communities safe. Later, when the City attempted to close the
to use force against criminalized                        hotels before the end of 2020, we forced them to keep hotels open and
San Franciscans, including unhoused                      develop a plan to house all hotel residents rather than kicking them
people. This fight included banning the                  back onto the streets. Through our advocacy, we have also pushed
use of Tasers, and preventing their re-                  the City to buy several of the hotels to become permanent supportive
implementation three times over the                      housing.
years.




2018:
In an historic ballot campaign, the Coalition formed Our City Our Home to develop
and pass Proposition C, raising an additional $300 million in tax revenue annually
to go to housing and services for unhoused San Franciscans. After years of being
held up in court, funds from Prop. C today have added 25% more housing slots,
meaning 2,474 households have left homelessness behind. In total, 3,591 housing                   city funding
slots have been funded by Prop. C. In addition, now there are 132 more treatment
beds out of over 700 to come, an additional 1,000 shelter slots, and funding to                  for solutions
prevent 3,600 households from becoming homeless are in place.
                                                                                       After initially passing in 2018,
                                                                                       and finally having funds released
                                                                                       in 2020, Prop. C continues to pay
                                                                                       dividends in solutions for homeless
                                                                                       people in San Francisco. These past
                                                                                       two years, we successfully lobbied
                                                                                       for Prop. C funds to be spent on
                                                                                       about 3,000 new housing units
                                                                                       and rental subsidies for homeless
                                                                                       families, youth, and adults. We also
                                                                                       secured funding to expand the City’s
                                                                                       substance use and mental health
                                                                                       treatment system with 343 new
                                                                                       treatment beds, behavioral health
                                                                                       programs in supportive housing and
                                                                                       shelter programs, and continued
                                                                                       funding for drop-in and outreach
                                                                                       services. Additionally, Prop. C has
                                                                                       helped prevent homelessness for
                                                                                       thousands of households through
                                                                                       eviction prevention services, back
                                                                                       rent support, and rental subsidies for
                                                                                        seniors and people with disabilities.
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Advancing
justice in
2023 and beyond...

STAY INVOLVED                                                                  The struggle continues...
None of the work we do is possible without the support of all of our           In the last 35 years, we’ve come a lot
incredible volunteers, allies, and supporters. To keep advancing justice       further than many would have expected
next year, we need your help! Here’s how you can stay involved:                when a few homeless people decided
Read the street sheet                                                          to take the fight into their own hands.
Street Sheet is the only newspaper in San Francisco made by and for            With every campaign, win or lose, the
people impacted by homelessness! Buying and reading Street Sheet is            Coalition on Homelessness has continued
the best way for you to stay up to date on what’s new with San Francisco
homelessness, and the money from your purchase goes directly to one            to advance justice at the direction of
of our vendors. Reach out to our editor at qwatts@cohsf.org to become a        homeless people! In 2023, we’ll keep
vendor, or to submit writing, poetry or artwork, or to volunteer skills such   fighting to stop the sweeps, to fix
as graphic design or teaching a workshop.
                                                                               coordinated entry, to ensure human
join a workgroup                                                               rights for unhoused San Franciscans and,
Our weekly workgroups are where all the magic happens! Our staff and           most importantly, to win housing for all!
members work together to coordinate outreach, develop campaigns, and
carry out the actions that advance our cause week by week. Reach out to
our organizing staff at www.cohsf.org/who-we-are to get information on
how to join a meeting!                                                         our staff:
                                                                               Javier Bremond, Miguel Carrera, Solange Cuba,
become a sustainer                                                             Jennifer Friedenbach, Yessica Hernandez, Emmett
As a grassroots organization, we pride ourselves in receiving most of our      House, Ian James, TJ Johnston, Tyler Kyser, Jason
funding from individual donors like you! We don’t take government funding      Law, Tracey Mixon, LaKetha Pierce, Carlos Wadkins,
of any kind, nor any other funding sources which would compromise our          Quiver Watts
fight for justice. The easiest way for you to give us a boost is by visiting
our website at cohsf.org and becoming a one-time donor or a monthly            our board of directors:
sustainer. Otherwise, reach out to our Development Director Carlos             Julia D’Antonio, Ramsey Dunlap, Barry Hills, Sara
Wadkins at cwadkins@cohsf.org to discuss all things fundraising.               Hofverberg, Jesus Perez, Colleen Rivecca, Jenise
                                                                               Standfield, Joe Wilson, Dr. Barry Zevin
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Dianne Spaulding, Justin Spector, Carissa Spencer, David Spero, Anne Spevack, Courtney Stack, Rebecca Stebbins, Kevin Stine, Michael Stipicevic, Rachel Stober,
Andrew Stober, Beth Stokes, Roger Stoll, Tim Storer, David Strachan, Elizabeth Streeter, Roger Strobel, Dan Sulfaro, Denise Svenson, Amy Svirsky, Adora Svitak,
Carolyn Sy, David Szanton, Asumu Takikawa, Jason Tan, Kellyann Tang, Brian Teng, Sofia Teran, Nick Theobald, Linda & Gene Theriac, Laura Thomas, Jennifer
Thommes, Brittany Thornton, Eric Thorpe, Samuel Thorpe, Stefanie Tignor, Jackson Tillman, Matthew Tom, Carly Tomaine, James Tracy, Aivi Tran, Betty Traynor,
Teague Tubach, Timothy Tugade, Kelsey Tulloch, Patricia Tunnard, Maxwell Turner, Mary Turnipseed, Anna Viktoria Vaaben, Abby VanMuijen, Ryan Varick,
Katrina Kay Velasco, Camila Vergara, Alejandra Vila, Rebekah Vittori, Rima Vora, Carlos Wadkins, Ian Waisler, Paul Wallace, Eileen Wampole, Daniel Wang,
Amanda Warder, David Watterson, Ethan Wayne, Jeffrey Wear, Stacy Webb, Cynthia Weber, Sandy Weil, Zeke Weiner, Isa Weiskopf, Teresa Welborn, Jan Wells, Paije
West, Tessa Weston, Elaine Whitney, Richard Wiersba, Don Willenburg, Wendy Williams, Kavin Williams, Richard Williams, David Williams, Harvey Williams,
Liliana Williams, Ashley Wilson, Jesica Winterrowd, Rachel Wirth, Carol Wisnieski, Daniel Wlodarczyk, Ruth Grace Wong, Jeff Wozniak, Katherine Xiao, Patrick
Yeon, Fiona Yu, Peter Zahody, Miguel Zavala Herrera, Richie Zevin, Barry Zevin, Sabrina Zhu, Jared Zimerman, Howard Zugman
